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            U N I T E D S TAT E S D I S T R I C T C O U RT
        M I D D L E D I S T R I C T O F P E N N S Y L VA N I A
                  W ILLIAM SPO RT D IV ISIO N


 William C. Toth Jr., et al.

                       Plaintiffs,
                                               Case No. 1:22-cv-00208-JPW
 v.

 Leigh M. Chapman, et al.,

                       Defendants


BRIEF IN SUPPORT OF RENEWED EMERGENCY MOTION
       FOR TEMPORARY RESTRAINING ORDER
      Earlier today, the Supreme Court of Pennsylvania entered an order that

purports to “adopt” a congressional map for the 2022 elections. See Exhibit 1.

The state supreme court’s order patently violates the Elections Clause and 2

U.S.C. § 2a(c)(5), and it will inflict irreparable injury and lead to chaos unless

the defendants are promptly enjoined from implementing it. The Court should

immediately grant a TRO while it considers the plaintiffs’ request for prelim-

inary-injunctive relief.

                                      FACTS
      Most of the relevant facts are set forth in the plaintiffs’ previous briefing.

See Br. in Support of Emergency Motion for TRO and PI, ECF No. 11, at 3–5.

But some additional developments have occurred since the plaintiffs moved

for emergency relief on February 21, 2022.




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    On February 23, 2022, the Supreme Court of Pennsylvania entered an or-

der that purports to “adopt” a congressional map for the 2022 elections. See

Exhibit 1. The map chosen by the state supreme court is known as the “Carter

plan,” which was proposed by litigants represented by the Elias Law Group.

Three justices dissented from the decision to adopt the Carter plan. See id.

    The state supreme court’s order instructs state election officials to “pre-

pare textual language that describes the Carter Plan and submit the same to

the Secretary of the Commonwealth without delay,” and to “publish notice of

the Congressional Districts in the Pennsylvania Bulletin.” Id. The state su-

preme court also “modified” the statutory deadlines in General Primary Elec-

tion calendar to accommodate its decision to impose a map for the 2022 con-

gressional elections, and it commanded that its “modified” schedule “shall be

implemented by the Secretary of the Commonwealth and all election officers

within the Commonwealth.” Id. It also directed the Secretary of the Common-

wealth to “notify this Court by 4:00 p.m. on February 25, 2022, should it fore-

see any technical issues.” A copy of the state supreme court’s order is attached

to this brief as Exhibit 1.

    The plaintiffs respectfully renew their request for an emergency TRO in

light of the state supreme court’s order, and they respectfully ask the Court to

immediately issue a TRO that restrains the defendants from implementing this

unconstitutional order while the Court considers the plaintiffs’ request for
preliminary-injunctive relief.




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I.     The Court Should Immediately Enjoin The
       Defendants From Implementing The Court-
       Drawn Map And Order Them To Comply With
       The Elections Clause And 2 U.S.C. § 2a(c)(5)
     In deciding whether to issue a TRO, a Court must consider four factors:

(1) whether the movant has “a reasonable probability of eventual success in

the litigation”; (2) whether the movant “will be irreparably injured . . . if relief

is not granted”; (3) “the possibility of harm to other interested persons from
the grant or denial of the injunction”; and (4) “the public interest.” Reilly v.

City of Harrisburg, 858 F.3d 173, 176–77 (3d Cir. 2017). All four factors favor
immediate relief.

       A.     The Plaintiffs Are Likely To Succeed On The Merits
     The state supreme court’s attempt to impose a court-drawn map for the

2022 congressional elections is a flagrant violation of the Elections Clause.

Under the Constitution, only “the Legislature” of a state may “prescribe” the
manner of electing its Senators and Representatives. See U.S. Const. art. I, § 4,

cl. 1 (“The Times, Places and Manner of holding Elections for Senators and

Representatives, shall be prescribed in each State by the Legislature thereof;

but the Congress may at any time by Law make or alter such Regulations.”).

The state judiciary is not part of “the Legislature,” so it cannot impose a con-

gressional map or participate in the redistricting process unless it has been au-

thorized to do so by “the Legislature.” See Arizona State Legislature v. Arizona

Independent Redistricting Commission, 576 U.S. 787 (2015). The state supreme

court’s actions usurp the legislature’s constitutionally assigned role, and the




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Court should promptly enjoin the defendants from implementing the state su-

preme court’s unconstitutional edict.

    The defendants will also violate 2 U.S.C. § 2a(c)(5) if they implement the

court-drawn map. 2 U.S.C. § 2a(c) provides:

      Until a State is redistricted in the manner provided by the law
      thereof after any apportionment, the Representatives to which
      such State is entitled under such apportionment shall be elected
      in the following manner: . . . (5) if there is a decrease in the num-
      ber of Representatives and the number of districts in such State
      exceeds such decreased number of Representatives, they shall be
      elected from the State at large.
2 U.S.C. § 2a(c). The State has not yet been “redistricted in the manner pro-

vided by the law thereof,” because the General Assembly has not enacted a
new congressional map, and the state supreme court’s attempt to impose a

court-drawn map violates the Elections Clause. The defendants must there-

fore conduct at-large elections unless and until the General Assembly enacts a
new congressional map. That is especially true when the Supreme Court of

Pennsylvania had to disrupt the General Primary Election calendar to accom-

modate its court-imposed redistricting plan. See Branch v. Smith, 538 U.S. 254,
273–76 (2003) (plurality opinion of Scalia, J.) (holding that 2 U.S.C. § 2a(c) is

triggered when “the election is so imminent that no entity competent to com-

plete redistricting pursuant to state law . . . is able to do so without disrupting
the election process”).




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      B.     The Plaintiffs Will Suffer Irreparable Harm Absent Relief
             From This Court
    The plaintiffs have explained the irreparable harms that they will suffer in

their previous briefing and declarations. See Br. in Support of Emergency Mo-

tion for TRO and PI, ECF No. 11, at 12–13; see also Bognet Decl. (ECF No. 11-

10); Bashir Decl. (ECF No. 11-11); Hall Decl. (ECF No. 11-12). The state su-

preme court’s order from this morning aggravates those harms by forcing

Bognet and Bashir to campaign for office under an unconstitutional court-

drawn map, which is likely to be declared unconstitutional and undone at the

conclusion of these proceedings. The uncertainty surrounding whether they

will need to campaign for office in statewide at-large elections, in the districts

drawn by the state supreme court, or in districts drawn by subsequent legisla-

tive enactments inflicts irreparable harm on the candidates and their cam-

paigns. Plaintiff Alan Hall is also suffering irreparable harm because the state

supreme court’s edict will force him to depart from the General Primary Cal-

endar that the legislature enacted, in violation of the U.S. Constitution and in

contravention of his oath to obey the Constitution. Finally, each of the five

plaintiffs will suffer irreparable harm because the state supreme court’s order

deprives them of their right to vote for all 17 members of the Pennsylvania
congressional delegation under 2 U.S.C. § 2a(c)(5).

      C.     The Balance Of Equities Favors A TRO Or Preliminary
             Injunction
    The balance of equities favors an immediate TRO because it is clear that

any action taken to implement the state supreme court’s order will violate the



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Elections Clause and 2 U.S.C. § 2a(c)(5), and the need to enforce the Consti-

tution and federal law outweighs any harms that might befall others from an

injunction. See Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck

Consumer Pharm. Co., 290 F.3d 578, 597 (3d Cir. 2002) (“[T]he more likely

the plaintiff is to win, the less heavily need the balance of harms weigh in his

favor.” (citation and internal quotation marks omitted)).

        D.     The Public Interest Favors A TRO Or Preliminary
               Injunction
      A preliminary injunction will ensure that the Constitution and 2 U.S.C.

§ 2a(c)(5) are obeyed, which is by definition in the public interest. See Osorio-

Martinez v. Attorney Gen. United States of Am., 893 F.3d 153, 179 (3d Cir. 2018);
Council of Alternative Political Parties v. Hooks, 121 F.3d 876, 884 (3d Cir. 1997).

II.     Immediate Injunctive Relief In Needed To
        Ensure That The Legislature And Governor
        Negotiate A New Map Against The Backdrop Of
        2 U.S.C. § 2a(c)(5)
      The Court should also order immediate injunctive relief to ensure that the

General Assembly and Governor Wolf can negotiate a new congressional map

against the backdrop of 2 U.S.C. § 2a(c)(5). By requiring at-large elections in

the event of an impasse between the legislature and governor, 2 U.S.C.

§ 2a(c)(5) creates strong incentives for compromise among rival factions of

state governments. But the Supreme Court of Pennsylvania has removed any

incentive for Governor Wolf to negotiate or compromise with the Republican-

controlled legislature. The governor knew from the outset that an impasse




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would lead to a court-drawn map—and that this a map would be drawn by a

state supreme court with a 5-2 Democratic majority. The state supreme court

rewarded the governor’s intransigence by adopting a congressional map pro-

posed by the Elias Law Group, an outcome that the state’s Democrats could

have only dreamed of obtaining from a Republican-controlled legislature. The

Court should immediately enforce the command of 2 U.S.C. § 2a(c)(5), which

will compel the legislature and Governor Wolf to agree quickly on a new map

(and a modified primary schedule) and avoid the spectacle of at-large elections
for the state’s 17 congressional representatives.

                              CONCLUSION
    The emergency motion for TRO should be granted, and the Court should

immediately enjoin the defendants from implementing the state supreme
court’s order of February 23, 2022.

                                         Respectfully submitted.

                                          /s/ Jonathan F. Mitchell
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                     CERTIFICATE OF SERVICE
    I certify that on February 23, 2022, I filed this document through

CM/ECF, which will effectuate service on all counsel of record in this case. I

also certify that I will serve this document by e-mail upon the following coun-

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